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AD 2458              (Rev. 09/08) Judgment in a Criminal Case
                     Sheet I



                                                           UNITED

                                                                                                                                     )
                    UNITED STATES OF AMERICA                                                                                         )
                                              v.                                                                                     )
                              DAVID SHERMAN LUSTIG                                                                                   )
                                                                                                                                                    Case Number: 4: 11 CR40009-002-JPG
                                                                                                                                     )
                                                                                                                                     )              USM Number: 09001-025
                                                                                                                                     )
                                                                                                                                     )               Frederick W. Johnson
                                                                                                                                                    Defendant's Attorney
THE DEFENDANT:
~pleaded guilty to count(s)                          1 and 3 of the Indictment
o pleaded nolo contendere to count(s)
        which was accepted by the court.
o was found guilty on count(s)
        after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                               Nature of Offense                                                                                                                                            Offense Ended
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                                      "! I;    ,..,,,d~"r:             'i,jij;.
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                                                                 ";:~!m,l),:_-",,;;~r;'~'!i?::limili:~fiHllnmnnH!!rill!ji~hlf!n:i" " •,.··., ',.',;,I,'i.,•'!,I" , ':,', ,.I,.· I,I.'I.,I,'I'.',!,'[ :iil)i"  ", 'i::l\"i:,fr~;' '.:-- ",',:I,i:i\:i!k',i!ll;!:;:tHj!i;'~
                                                                                                                                                                                                                                                                          1';~1·""i,I.'.
 21 U.S.C. 841(a)(1) &(b)                      Distribution of a Controlled Substance                                                                                                                          3/1/2010                                                   3



       The defendant is sentenced as provided in pages 2 through                                                                     _-=5_ _ of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
o The defendant has been found not guilty on count(s)
OCount(s)              ____________ 0 is                                                                            o are dismissed on the motion of the United States.
         It is ordered that the defendant must notifY the United States attorney for this district within 30 da)!S of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
the defen<lant must notifY the court and United States attorney of material changes in econom.c circumstances.

                                                                                                                                      9/8/2011




                                                                                                                                      J. Phil Gilbert                                                                                District Judge
                                                                                                                                                                                                                                   Title of Judge
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              Sheet 4-Probation

                                                                                                            Judgment~Page      2     of         5
DEFENDANT: DAVID SHERMAN LUSTIG
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                                                                  PROBATION
The defendant is hereby sentenced to probation for a term of:

 5 years on Count 1 and 3 of the Indictment. All Counts to run concurrent with each other.




The defendant shall not commit another federal, state or local crime.
 The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall suomit to one drug test within 15 days of placement on probation and at least two periodic drug tests
thereafter, as determined by the court.
o        The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
         future substance abuse. (Check, if applicable.)
         The defendant shall not possess a frrearm, ammunition, destructive device, or any other dangerous weapon. (Check, if applicable.)

         The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check. ifapplicable.)
         The defendant shall comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16901, e/ seq.)
         as directed by the proballon officer, the Bureau of Prisons, or any state sex offender registration agency in which he or she resides,
         works, is a student, or was convicted of a qualifying offense. (Check, if applicable.)

o        The defendant shall participate in an approved program for domestic violence. (Check. ifapplicable.)
       If this judgment imposes a fine or restitution, it is a condition of probation that the defendant pay in accordance with the Schedule of
Payments sheet of this judgment.
         The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions
on the attached page.

                                          STANDARD CONDITIONS OF SUPERVISION
    1)     the defendant shall not leave the judicial district without the permission of the court or probation officer;
  2)       the defendant shall report to the probation officer and shall submit a truthful and complete written report within the first five days of
           each month;
  3)       the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
  4)      the defendant shall support his or her dependents and meet other family responsibilities;
  5)      the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
          acceptable reasons;
  6)      the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
  7)      the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any controlled
          substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
  8)      the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
  9)      the defendant shall not associate with any I?ersons engaged in criminal activity and shall not associate with any person convicted of a
          felony, unless granted permission to do so by the probation officer;
 10)      the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
          contraband observea in plain view of the probation officer;
 11 )      the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
 12)      the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
          permISSIOn of the court; and
 13)      as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's criminal
          record or ~ersonal history or characteristics and shall pennit the probation officer to make such notifications and to confirm the
          defendant s compliance with such notification requirement.
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           Sheet 4C - Probation

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                                    SPECIAL CONDITIONS OF SUPERVISION
 X The defendant shall pay any financial penalty that is imposed by this judgment and that remains unpaid at the
 commencement of the term of supervised release. The defendant shall pay the fine in installments of $500.00 per month
 or ten percent of his net monthly income, whichever is greater, to commence 30 days after release from imprisonment to a
 term of supervision.

 X The defendant shall provide the probation officer and the Financial Litigation Unit of the United States Attorney's Office
 with access to any requested financial information. The defendant is advised that the probation office may share financial
 information with the Financial Litigation Unit.

 X The defendant shall apply all monies received from income tax refunds, lottery winnings, judgments, andlor any other
 anticipated or unexpected financial gains to the outstanding court-ordered financial obligation. The defendant shall
 immediately notify the probation officer of the receipt of any indicated monies.

 X As the Court has reason to believe that the defendant is in need of mental health treatment, the defendant shall
 undergo a mental health assessment and participate in a program of mental health treatment, as directed by the probation
 officer until such time as the defendant is released from the program by the probation officer. This may include a
 psychiatric evaluation and may require participation in a medication regiment The defendant shall follow the medication
 regiment as prescribed by a licensed practitioner, at the direction of the probation officer. The defendant shall pay for the
 costs associated with services rendered for counseling andlor testing based on a copay sliding fee scale, as directed and
 approved by the United States Probation Office. The copay shall never exceed the total costs of counseling.
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          Sheet 5 - Criminal Monetary Penalties

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                                              CRIMINAL MONETARY PENAL TIES
     The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.


                    Assessment                                      Fine                                Restitution
 TOTALS           $ 200.00                                        $ 10,000.00                        $ 0.00


 D   The determination of restitution is deferred until _ _ _ _ _. An Amended Judgment in a Criminal Case (AD 245C) will be entered
     after such detennination.

 D   The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

     If the defendant makes a partial payment, each payee shall receive an approximately proportioned paYlllent, unless specified otherwise in
     the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal victims must be paid
     before the United States is paId.




TOTALS                              $                      0.00         $~_ _ _ _ _.:::O.:.::OO~


D     Restitution amount ordered pursuant to plea agreement $ _ _ _ _ _ _ _ _ _ __

D    The defendant must pay interest on restitution and a fme of more than $2,500, unless the restitution or fine is paid in full before the
     fifteenth day after the date of the judgment, pursuant to 18 U.S.c. § 3612(f). All of the payment options on Sheet 6 may be subject
     to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

'ot The court determined that the defendant does not have the ability to pay interest and it is ordered that:
    tt the interest requirement is waived for the 'ot fme D restitution.
    o the interest requirement for the D fme D restitution is modified as follows:

• Findings for the total amount oflosses are required under Chapters 109A, 110, IIOA, and 113AofTitle 18 for offenses committed on or after
September 13, 1994, but before April 23, 1996.
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           Sheet 6 ~ Schedule of Payments

                                                                                                                                 5_ of
                                                                                                               Judgment ~ Page _ _                      5
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                                                         SCHEDULE OF PAYMENTS

Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties is due as follows:

A    ri/ Lump sum payment of$               10,200.00          due immediately, balance due

           ri/ not later than                                       , or
           D     in accordance          o C,         0    0,   0      E, or     'it F below; or
B    0    Payment to begin immediately (may be combined with                  0 C,       o D, or       0 F below); or

c    0    Payment in equal                          (e.g.• weekly. monthly. quarterly) installments of $                             over a period of
                          (e.g.• months or years), to commence                        (e.g., 30 or 60 days) after the date of this judgment; or

D    0    Payment in equal                          (e.g.• weekly. monthly. quarterly) installments of $                          over a period of
                          (e.g., months or years), to conunence                       (e.g., 30 or 60 days) after release from imprisonment to a
          tenn of supervision; or

E    0    Payment during the term of supervised release will commence within                 (e.g., 30 or 60 days) after release from
          imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

F    ri/ Special instructions regarding the payment of criminal monetary penalties:
           The defendant shall pay any financial penalty that is imposed by this judgment and that remains unpaid at the
           commencement of the term of supervised release. The defendant shall pay the fine in installments of $500.00 per
           month or ten percent of his net monthly income, whichever is greater, to commence 30 days after release from
           imprisonment to a term of supervision.


Unless the court has expressly ordered otherwise, if this judgment imposes imprisorunent, payment of criminal monetary penalties is due during
imprisomnent. All cnminal monetary penalties, except those payments made through the Federal Bureau of Prisons' Inmate Financial
Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.




o    Joint and Several

     Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
     and corresponding payee, if appropriate.




o    The defendant shall pay the cost of prosecution.

o    The defendant shall pay the following court cost(s):

o    The defendant shall forfeit the defendant's interest in the following property to the United States:




Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fme principal,
(5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
